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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO

PETERS BROADCAST ENGINEERING
341 S. HIGH STREET, SUITE 10
COLUMBUS, OHIO 43215                        CASE NO.

PLAINTIFF,
                                            JUDGE
VS.
                                               JURY DEMAND
24 CAPITAL FUNDING, LLC                        ENDORSED HEREON
31-10 37​TH​ AVENUE, SUITE 202
LONG ISLAND, NEW YORK 11101                    CLASS ALLEGATIONS HEREIN

AND

JASON SANKOV
24 CAPITAL FUNDING, LLC
31-10 37​TH​ AVENUE, SUITE 202
LONG ISLAND, NEW YORK 11101

AND

JOHN DOES.
               DEFENDANTS.

           COMPLAINT FOR DAMAGES AND NATIONAL CLASS RELIEF

       Plaintiff, Peters Broadcast Engineering, Inc., (hereinafter "PBE") hereby asserts the

following claims under federal and Ohio common and statutory law against Defendants, 24

Capital Funding, LLC, (hereinafter “24 Capital”), Jason Sankov and John Doe defendants to be

named separately and joined as defendants following discovery. This Complaint arises from

Defendants’ operation of a so-called "merchant cash advance financing" company. Specifically,

as fully outlined below, Defendants in this action have used and are using Defendant 24 Capital




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to induce prospective borrowers to borrow funds against receivables, a so-called merchant cash

advance(MCA). In reality the MCA is a guise employed by Defendants to circumvent state

usury laws. Defendants promise to only recover payment from receivables but in reality,

through daily    automatic clearing house (ACH) debits, they extract daily payments from

borrowers regardless of whether receivables have come into the bank accounts of the borrower

or not. In addition, Defendants promise additional funding to borrowers, thereafter renege on the

promised funds and then confess judgment against the borrower based upon the failure to make

payments the borrower relied upon the promised funds to make. Once Defendants obtain a

confessed judgment they utilize the State of New York Court system to employ collection

techniques that violate the federal law, specifically the provisions of the Due Process Clause by

misrepresenting the extent of contacts borrowers, such as Plaintiff, have with the State of New

York. The actions of Defendants are violative of both Ohio and federal law and have caused

extensive damage to Plaintiff and the class of similarly situated persons. Accordingly, Plaintiff

PBE respectfully asserts here individual and classwide claims against Defendants.

                         I.      JURISDICTION AND VENUE

   1. Jurisdiction is founded upon the provisions of 28 U.S.C. §1331 in that this action arises

under federal law, 18, U.S.C. §1962, et seq. Jurisdiction over the state law claims arises under

this Court's pendent jurisdiction.




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    2. Venue is properly laid in the Southern District for the reason the events described

hereinbelow touch and concern the Southern District of Ohio..

    3. Defendants are subject to the personal jurisdiction of this court under Fed. R. Civ. P. Rule

4(e) under the nationwide service of process provisions of the Racketeer Influenced and Corrupt

Organizations Act (RICO), 18 U.S.C.A. § 1962. The Southern District of Ohio is the most

convenient venue. The conduct injuring the plaintiff and continuing to injure him occurred in the

Southern District of Ohio. Defendant 24 Capital is not licensed to do business in the State of

Ohio, however has transacted and continues to transact business in Ohio. The acts complained of

took place in the Southern District of Ohio. It is in the interests of justice that the individual

defendants be made party to an action in this district under 18 U.S.C.A. § 1965(b).


                                    II.     PARTIES

    4. Plaintiff, PBE, is a telecommunications engineering company. By reason of the acts

complained of below, PBE has experienced direct financial injury traceable to Defendants’

conduct, which can be redressed by the relief requested herein.

    5. Defendant Jason Sankov is the Operations Manager of 24 Capital. Defendant 24 Capital

Funding, LLC is an entity organized and existing under the laws of the State of New York. John

Doe defendants are the officers and members of 24 Capital who have personal control over the

activities of 24 Capital.




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   6. The transactions complained of in this complaint took place, in part, in the State of Ohio

from mid-February 2019 through the present.



                         III. ​FACTS COMMON TO ALL COUNTS


   7. Plaintiff restates all allegations above as though fully restated herein.

   8. This action arises from Defendants' breach of the terms of an agreement to advance

funds against receivables. A copy of the purported agreement is at Exhibits A. Defendants

induced PBE to accept funds on the representation that repayment would be against receivables,

not merely daily loan payments. Upon receipt of the agreed upon funds,Plaintiff ‘s bank account

was debited daily regardless of whether any receivables had come into the account or not . The

daily withdrawal of funds by defendants depleted Plaintiff’s cash which caused defendants to

promise additional funding to Plaintiff. Defendants then reneged on the promise of additional

funding and instead unlawfully confessed judgment against Plaintiff. At no time did defendants

comply with the terms of the agreement at Exhibit A and limit repayment to receivables.

Defendant simply collected daily payments. Plaintiff relied to his detriment upon Defendants'

intentional misrepresentations concerning the operation of the MCA program and the manner in

which the agreements at Exhibit A would work.

   9. Defendants' conduct was calculated to manipulate PBE into a position of financial

helplessness which would lead PBE to accept Defendants’ promise to make               additional




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advances.Despite defendants manipulative and predatory practices PBE has repaid substantially

all of 24 Capital’s principal, despite the scheme in which 24 Capital engaged and its breach of

the parties’ agreement.


 COUNT 1: RACKETEER INFLUENCED CORRUPT ORGANIZATIONS ACT

   10. At all relevant times, there was in full force and effect in the United States of America, a

certain statute, namely, the Racketeer Influenced Corrupt Organizations Act ("RICO"), 18

U.S.C.A. § § 1961 ​et seq.

   11. At all relevant times, there was in full force and effect in the United States of America

certain statutes commonly referred to as the mail and wire fraud statutes, 18 U.S.C.A. § § 1341

and 1343.

   12. At all relevant times, there was in full force and effect in the United States of America

certain statutes commonly referred to as the mail and wire fraud statutes, 18 U.S.C.A. §§1341

and 1343.

                              II. RACKETEERING ENTERPRISE

   13. Plaintiff incorporates all the foregoing paragraphs as if fully rewritten herein.

   14. A racketeering enterprise exists among the Defendants to unlawfully obtain money from

PBE. The enterprise operates through 24 Capital. Defendants combined, conspired, confederated

and agreed with each other and with others known and unknown to Plaintiff to devise and intend

to devise a scheme and artifice to defraud PBE as to a material matter and to obtain money and


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property by means of false and fraudulent pretenses, representations, and promises by causing

signals and sounds to be transmitted by wire in interstate and foreign commerce, for the purpose

of executing and attempting to execute the scheme and artifice, as set forth herein. The enterprise

has an organizational structure and policies designed to accomplish the following goals:


         a)      The first goal of the racketeering enterprise is to operate a facially legal entity, 24
                 Capital, to conduct a business scheme to defraud individuals such as Plaintiff.
         b)      The second goal of the racketeering enterprise is to attract clients by
                 misrepresenting the terms upon which 24 Capital will lend.
         c)      The third goal of the racketeering enterprise is to enter into a contracts with
                 prospective borrowers based upon the aforementioned false grounds.
         d)      The fourth goal of the racketeering enterprise is to use the funds obtained to
                 enrich Defendants, and to circumvent federal law against predatory and usurious
                 lending.
         e)      The fifth goal of the enterprise is to misuse the State of New York court system
                 to engage in collection activities in circumstances where misrepresentations have
                 been made by defendants concerning the extent of borrowers’ contacts with the
                 State of New York.
   15. The enterprise has a history of involvement within Ohio, Indiana and throughout the

United States.

   16. The enterprise is engaged in interstate commerce and its activities have a substantial

effect on interstate commerce as follows:


         a)      The enterprise receives money through the mails and wires unlawfully from
                 borrowers and deposits that money into financial institutions engaged in interstate
                 commerce.

         b)      The defendant enterprise utilized the means of telephone calls and mail in
                 the regular course of business to communicate among themselves, to obtain the


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               transfer of funds from borrowers, and to induce ​PBE ​into remitting funds for a
               MCA agreement.

                              III: FEDERAL RICO VIOLATION

    17. Plaintiff hereby incorporates all the foregoing allegations as if fully rewritten herein.

    18. Defendants, individually and collectively, through their control of the enterprise, violated

18 U.S.C.A. § 1962(c) by conducting the enterprise's affairs through a pattern of racketeering

activity as defined in 18 U.S.C.A. § 1961(1)(B) consisting of numerous acts of mail and wire

fraud in violation of 18 U.S.C.A. §§1341 and 1343.

    19. Specifically, Defendant committed the following predicate acts: Defendant placed

telephone calls to PBE to fraudulently induce him to remit funds. Defendant used 24 Capital to

attempt to manipulate PBE into a predatory loan. Defendant also used 24 Capital as a conduit to

divert funds to 24 Capital, Sankov and John Does.

    20. Defendants’ predicate acts were continuous in that they began in February 2019 and

continue until today. The public at large is in danger of Defendants' continued pattern of corrupt

activities.

    21. Plaintiff has been damaged by Defendants' violation of the federal RICO statute, and is

entitled to compensatory and punitive damages, interest, costs and attorneys fees.



                    COUNT II: INTENTIONAL MISREPRESENTATION

    21. Plaintiff hereby incorporates all the foregoing allegations as if fully rewritten herein.




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   22. Defendants intentionally misrepresented their MCA arrangement to PBE.

   23. Plaintiff relied upon this representation of the agreement when the contract was agreed to

and signed.


   24. Defendants were aware when they stated that they would only collect against receivables

in PBE’s accounts that this statement was untrue. Defendants with wanton disregard for

Plaintiff’s interests and malice intentionally misled Plaintiff and thereby have caused damage to

Plaintiff for which Defendant are liable in compensatory and punitive damages, interests, costs

and attorneys fees.


                                      COUNT III: FRAUD

   25. Plaintiff hereby incorporates all the foregoing allegations as if fully rewritten herein.

   26. Attached at Exhibit B are fraudulent documents submitted by Defendants to both Partners

Credit Union and PNC bank that state PBE resides in New York and conducts business in the

State of New York. These representations are material to the ability of Defendants to lawfully

restrain the accounts of PBE . Defendants knew at the time of these representations concerning

Plaintiff’s residence and contacts with the State of New York that these statements were false.

Defendants' misrepresentations were relied upon by Partners and PNC to the detriment of PBE

because Partners and PNC restrained the accounts of PBE.

   27. Defendants’ specific fraudulent statements caused PBE’s accounts to be restrained and

prevented PBE from purchasing supplies, paying its staff and otherwise engaging in operations

as a going concern.




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   28. Plaintiff has been damaged by Defendants’ fraudulent statements. Accordingly

defendants are liable in compensatory and punitive damages, interest, costs and attorneys fees.

See, Exhibit B.

                                 COUNT IV: DISGORGEMENT

   29. Plaintiff hereby incorporates all the foregoing allegations as if fully rewritten herein.

   30. To the extent Defendant breached fiduciary duties owed to Plaintiff, Plaintiff is entitled to

disgorgement of any amounts realized by Defendants by reason of their breach.

              COUNT V: MISAPPROPRIATION OF NAME AND GOODWILL

   31. Plaintiff hereby incorporates all the foregoing allegations as if fully rewritten herein.

   32. Through its unauthorized contact with Partners First Credit Union and PNC under the

guise of a legitimate creditor. Defendant misappropriated Plaintiff’s public name, persona, and

goodwill to raise the unauthorized funds. Plaintiff is entitled to recovery of all funds raised by

Defendant in Plaintiff’s name.

                           COUNT VI: BREACH OF CONTRACT

   33. Plaintiff hereby incorporates all the foregoing allegations as if fully rewritten herein.

   34. 24 Capital is a foreign corporation within the meaning of Ohio Revised Code 1703.01(b)

required under O.R.C. 1703.03 to be licensed to conduct business in the State of Ohio.

   35. 24 Capital has not obtained a license to do business in Ohio or otherwise registered with

the Ohio Secretary of State, which renders 24 Capital subject to a $10,000.00 forfeiture under

O.R.C. 1703.28.

   36. 24 Capital has not appointed an agent for service of process in the State of Ohio.

   37. 24 Capital induced PBE to remit funds to obtain an alleged MCA agreement.


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   38. Defendants are liable for compensatory damages, interest, costs and attorneys fees.

                              COUNT VII: CLASS ALLEGATIONS

   39. PBE brings this action under Rule 23 of the Federal Rules of Civil Procedure on behalf of

itself and a class (“Class”) and subclass (“Subclass”). The Class Period commenced on January

1, 2015.

   40. PBE brings this action under Federal Rule of Civil Procedure 23(b)(1) on behalf of a

class defined as:

       All borrowers who received merchant cash advances and were advised the
       repayment would be against receivables only.

   41. PBE also brings this action under Federal Rule of Civil Procedure 23(b)(2) on behalf of a

class defined as set for the in Paragraph 6(b) for the reason adjudication of the issues raised here

will be dispositive of the claims of all persons affected.

   42. PBE also brings this action under Federal Rule of Civil Procedure 23(b)(3) on behalf of a

class defined as set forth in Paragraph 6(b) for the reason questions of law common to the class

predominate over the claims of individual class members.

   43. The claims of PBE are typical of the claims of the Class. PBE will fairly and adequately

protect the interests of the Class. PBE has no conflicts with any other Class Member, and has

retained competent counsel experienced in class action litigation.

   44. Common questions of law and fact exist. Questions of law and fact are common to the

Class and predominate over any questions affecting only individual Class Members.

   45. Class action treatment is a superior method for the fair efficient adjudication of the

controversy described herein. A class action provides an efficient method whereby enforcement

of the rights of PBE and defendants can be fairly managed.


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                                      PRAYER FOR RELIEF

                WHEREFORE​, Plaintiff demands the following:

    A) Judgment against Defendants, jointly and severally, in such amounts as will fully and

adequately compensate Plaintiff for the damages he has suffered, in an amount to be determined

at trial, not less than $75,000.00;

    B) Award Plaintiff punitive damages against Defendants, jointly and severally, in an amount

to be determined by the jury for Defendants’ failure to limit repayment against receivables and

misrepresenting whether there were contacts with New York;

    C) Award Plaintiff pre-judgment and post-judgment interest;

    D) Award Plaintiff actual expenses of litigation, including reasonable attorney’s fees;

    E) Appoint Plaintiff as class representative;

    F) Appoint Plaintiff’s counsel as counsel for the class; and

    G) Award Plaintiff such other and further relief as the Court deems just and proper.



                                             Respectfully Submitted,



                                             s/Percy Squire, Esq.
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                             DEMAND FOR JURY TRIAL

   Plaintiff is entitled to and hereby demands a jury trial in this matter.


                                  s/Percy Squire, Esq.
                                  Percy Squire, Esq. (0022010)




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